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                     INTHE UNITED STATES DISTRICT COURT                            U S TT i cI1cT

                    FOR THE SOUTHERN DISTRICT OF GEORGIA                           1g8.sEp 2b P

                                  AUGUSTA DIVISION
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UNITED STATES OF AMERICA                      )
                                              )
               V.                             )       CR 108-062
                                              )
EDWARD JEROME NEWS OME                        )


         MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION


        In the above-captioned criminal case, the government has charged Defendant Edward

Jerome Newsome with one count of Conspiracy to Distribute and to Possess with Intent to

Distribute Schedule land II Controlled Substances, in violation of 21 U.S.C. § 846 , and one

count of Possession with Intent to Distribute Schedule I and H Controlled Substances, in

violation of 21 U.S.C. § 841(a)(l). The matter is now before the Court on Defendant's

"Motion to Suppress Drugs Seized at 2412 Mt. Auburn St., Augusta, GA on October 25,

2007." (Doe. no. 288). For the reasons developed below, the Court REPORTS and

RECOMMENDS that the motion to suppress be DENIED.

I.     FACTS1

       On October 23, 2007, Investigator Alonzo Bell ("mv. Bell") with the Richmond

County Sheriff's Office presented an affidavit for a search warrant for 2412 Mt. Auburn

Street in Augusta, Georgia, to the Honorable Richard Slaby, State Court Judge. (Doc. no.

288, Ex. B). In that affidavit, mv. Bell stated that a confidential source, who had not


       'The facts are based on the filings in the record by Defendant and the government.
As discussed in detail below, Defendant did not come forth with sufficient facts to warrant
an evidentiary hearing.
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provided any information in the past, told him that Defendant was in possession of cocaine.

(id. at 1). mv. Bell went on to state that at his direction, the source had accomplished a

controlled buy at Defendant's residence within the last eighteen hours before applying for

the search warrant, (IcL at 1-2). Judge Slaby issued the search warrant, and the warrant was

executed on October 25, 2007.          at 4, 5). Officers recovered, inter al/a, drugs, cash,

weapons, and ammunition. (i4 at 5).

        In its discoverypackage for this case, the government did not provide defense counsel

with documentation for the controlled buy that was described in the October 23rd affidavit.

(Doe. no. 288, p. 2). Because there was documentation provided about other controlled buys

in this multi-defendant case, Defendant suggested that the lack of documentation about this

particular buy "leads to the conclusion that this documentation does not exist" and "leads to

the conclusion that the alleged controlled buy did not occur." (jcj.. at 3). As the controlled

buy was "essential to the finding of probable cause to search 2412 [Mt.] Auburn Street,"

Defendant moved for suppression based on his conclusions concerning the controlled buy.

(Id.). The government adamantly denied Defendant's conclusions in its response and offered

to produce the documentation for the controlled buy for an in camera inspection by this

Court. (Doc. no. 293, pp. 1-2). The Court then ordered the government to produce the

documentation (doe. no. 335), and upon review of those documents, the Court entered an

order stating that the controlled buy alleged in the October23, 2007 search warrant had been

sufficiently shown (doc. no. 337) 2


        2 The documentation submitted for in camera review has been made a part of the

record in this case as a sealed attachment to the Court's Order finding that the controlled buy
had occurred. (See doe. no. 337).

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II. ANALYSIS

        The entirety of Defendant's argument for suppression is based on the premise that the

controlled buy alleged in the October 23, 2007 affidavit was manufactured because the

government did not produce documentation for the buy in its discovery package. Thus, goes

the argument, because the controlled buy was essential to the finding of probable cause for

the search warrant, the items seized during the search of Defendant's residence should be

suppressed. In essence, Defendant's motion to suppress amounts to a challenge to the

validity of the affidavit offered in support of the application for the search, and therefore,

Defendant must satisfythe dictates of Franks v. Delaware, 438 U.S. 154 (1978) to obtain an

evidentiary hearing on the matter. He has not done so.

        The Court starts with the recognition that the affidavit supporting a search warrant

is presumed to be valid. Franks, 438 U.S. at 171. Nevertheless, in Franks, the Supreme

Court held that facially valid search warrant affidavits may be challenged if: (1) the affidavit

contains intentionally or recklessly false statements, and (2) the statements are material in

the sense that they were necessary to the finding of probable cause. at 171-72.

Insignificant and immaterial omissions or misrepresentations will not invalidate a warrant.

United States v. Jenkins, 901 F.2d 1075, 1080 (11th Cir. 1990); see also United States v.

Steiger, 318 F.3d 1039, 1046 (11th Cir. 2003) ("To justify suppression of evidence seized

under a warrant, the alleged deliberate or reckless failure to include material information in

the affidavit must conceal information that would defeat probable cause."). To obtain a

hearing to challenge alleged misrepresentations in a warrant application, a defendant must

meet the following standard:
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        To mandate an evidentiary hearing, the challenger's attack must be more than
        conclusory and must be supported by more than a mere desire to cross-
        examine. There must be allegations of deliberate falsehood or of reckless
        disregard for the truth, and those allegations must be accompanied by an offer
        of proof. They should point out specifically the portion of the warrant
        affidavit that is claimed to be false; and they should be accompanied by a
        statement of supporting reasons. Affidavits or sworn or otherwise reliable
        statements of witnesses should be furnished, or their absence satisfactorily
        explained.
Id.

        Here, Defendant falls woefully short of the required showing. The premise of the

entire motion is based on the faulty conclusion that because the government failed to produce

documentation about the controlled buy in its discovery package, the controlled buy had been

fabricated by the officer applying for the warrant. 3 However, the record, as confirmed by the

Court's in camera inspection of the government's documents, establishes that the controlled

buy alleged in the October 23, 2007 affidavit did in fact occur.

       Defendant's motion challenges the existence of probable cause for issuance of the

warrant solely on the grounds that he believed the controlled buy did not occur. As the

record establishes that the controlled buy occurred, there is no remaining challenge to the

finding of probable cause to issue the search warrant. Accordingly, there is no basis for

recommending suppression of evidence obtained as a result of the search of24 12 Mt. Auburn

Street on October 25, 2007.




       3 The government points out that the documentation was not requested by Defendant.
(Doc no. 293, p. 2)

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III. CONCLUSION

       For the reasons set forth above, the Court REPORTS and RECOMMENDS that the

"Motion to Suppress Drugs Seized at 2412 Mt. Auburn St., Augusta, GA on October 25,

2007" be DENIED.

       SO REPORTED and RECOMMENDED thisc,?b1... day of September, 2008, at

Augusta, Georgia.


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                                         W. LEON B IELI3 /J
                                         UNITED STATES MAGIS'tRATE JUDGE
